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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION AT DAYTON

JAMES G ALEXANDER,

        Plaintiff,                                  Case No. 3:20-cv-482

vs.

ERIE INSURANCE COMPANY,                             District Judge Michael J. Newman

      Defendant.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

        In light of the pending motion for judgment on the pleadings, pursuant to Fed. R. Civ. P.

12(c), filed by Defendant (doc. 6), the Court finds good cause to delay issuance of a scheduling

order under Fed. R. Civ. P. 16(b). Following disposition of the foregoing motion, the Court will,

if necessary, order that the parties confer as required under Fed. R. Civ. P. 26(f) and submit an

amended Rule 26(f) report to the Court. Unless the parties agree otherwise, discovery will not

commence in this action until after disposition of foregoing motion.

        IT IS SO ORDERED.



Date:   January 28, 2021                            s/Michael J. Newman
                                                    Michael J. Newman
                                                    United States District Judge
